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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                       February 05, 2020
                           UNITED STATES DISTRICT COURT
                                                                                       David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
VS.                                              § CIVIL ACTION NO. 7:20-CV-34
                                                 §
44.697 ACRES OF LAND , MORE OR                   §
LESS, et al,                                     §
                                                 §
         Defendants.                             §

          NOTICE OF ADVANCING OF INITIAL PRETRIAL CONFERENCE

       The Initial Pretrial Conference (previously set for April 8, 2020) is hereby reset for

March 4, 2020, at 9:00 a.m. before the Honorable Randy Crane, in the 9th Floor Courtroom,

Bentsen Tower, 1701 West Business Highway 83, in McAllen, Texas.

       Counsel for Plaintiff is required to serve a copy of the Order for Conference and

Disclosure of Interested Parties previously entered in this case together with a copy of this Order

upon Defendant or Defendant’s counsel.


       SO ORDERED this 5th day of February, 2020, at McAllen, Texas.


                                                 ___________________________________
                                                 Randy Crane
                                                 United States District Judge




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